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     6                             IJNITED STATES DIVTRICT CO URT
     7                                     DISTRICT OF NEVADA

     8 IJNITED STATESOFAMERICA,                         )
                                                        )
     9                        Plaintiff,                )
                                                        )
    10         v.                                       )          2:10-CR-365-JCM (PAL)
                                                        )
    11 JONATHAN FRANCIS,                                )
                                                        )
    12                        Defendant.                )
    13                          PRELIM INARY O RDER OF FORFEITURE
    14        ThisCourtfindsthaton August25,2O11,defendantJONATHAN FRANCIS pled guilty to
    15 Count0ne ofa Two-countCriminallndictmentcharging him in CountOne with Conspiracy to

    16 Possess a Controlled Substance w ith the lntentto D istribute -Cocaine,in violation ofTitle 2l,

    17 UnitedStatesCode,Sections841(a)(l)and 846.Docket#16.
    18        ThisCourtfindsdefendantJONATHANFRANCISagreedtotheforfeimreofthepropertyset
    19 forthinForfeitureAllegationsoftheCrim inalIndictmentandinthePleaM emorandum . Docket//16,

    20        n isCourtfinds,pursuanttoFed.R.Crim.P,32.2(b)(1)and(2),theUnitedStatesofAmerica
    21 has shown the requisite nexùs between property setforth in the Forfeiture Allegations ofthe
    22 Crim inalIndictmentandinthePleaM emorandum andtheoffensestowbic,
                                                                      l'idtftndantJONATHAN
    23 FR AN CIS pled guilty.

    24         The following assets are subjectto forfeiture pursuantto Title 21,United StatesCode,
    25 Sections853(a)(1)and 853(a)(2);Title21,UnitedStatesCode,Section 881(a)(11)andTitle28s
    26 .,.
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 1 UnitedStatesCode,Section246l(c);Title l8,United StatesCode,Section924(d)(1),(2)(C),and
 2 (3)(B)andTitle28,UnitedStatesCode,Section2461(c):
 3          a)     $17l,600inUnited Statescurrency;
 4          b)     a 2008 Black Chevy Suburban bearing Nevadalicense plate:YODADY,Vm :
 5                 1GNFC16008R143172;

 6          c)     a Glock model23,.40 caliber semi-automatic handgun bearing serialnumber
 7                 KFFIX ;

 8          d)     aSigSauermodelP229,.40calibersemi-automatichandgunbearingserialnumber
 9                 AG23046;and

10          e)     anyanda11ammunition (ttpropertf').
11          TM sCotu'
                    ttindsthe United StatesofAm erica isnow entitled to,and should,reduce the
12 aforem entioned property to the possession ofthe U nited StatesofA m erica.

13          NOW THEREFORE,IT ISHEREBY ORDERED,ADJUDGED,AND DECREED O tI e
14 United StatesofAmericashould seizetheaforem entioned property.

15          IT IS FURTHER ORDERED,ADJUDGED,AND DECREED a11right,title,andinterestof
16 JONATHAN FRAN CISintheaforementionedpropertyisforfeitedandisvestedintheunitedStates

17 ofAm ericaand shallbesafely beldby theUnited StattsofAm ericauntilfurtberorderoftlleCourt.
18          ITIS fURTHER ORDERED,ADJUDGED,AND Dff ltEED theunited StatesofAmelica

19 shallpublishforatleeastthirty(30)consecutivedaysontheofticialinternetgoverrtmentforfeimre
20 website,www.forfeiture.gov,noticeofthisOrder,which shalldesclibethefodbitedproperty,state
21 thetim eundertheapplicablestatutewhen apetitioncontestingtheforfeituremustbetiled,andstate

23 the nam e and contactinformation forthe governm entattorney to be selwed with the petition,
23 pursuanttoFed.R.Crim.P.32.2(b)(6)arldTitle21,UnitedStatesCode,Section 853(n)(2).
24          IT IS FURTHER ORDERED,ADJUDGED,AND DECREED apetition,ifany,mustbe
25 filed with the Clerk oftheCourq 333LasVegasBoulevard SouthsLasVegas,Nevada89101.
26 ...

                                                   2
                                                                                               '
                                                                                                            j
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                                                                                                            I

             1         IT IS FURTHER ORDERED,ADJUDGED,AND DECREED acopyofthepetition,ifany,
             2 shallbe served upon the AssetForfeiture Attorney ofthe United StatesAtlorney'sOftice atthe   I
             3 following addressatthetimeoftiling:

             4                M ichx lA.Humpllreys
                              AssistantUnited StatesA ttorney
             5                DanielD.Hollingsworth
                              AssistantUnited StatesA ttorney
             6                N evada SàteBarNo.1925
                              Lloyd D .George U nited StatesCourthouse
I            7                333 LasVegasBoulevard South,Suite 5000
1                             LmsVegas,Nevada89101
(            g
$
l            9         IT IS FURTHER ORDERED , ADJUDOED,AND DECREED thenoticedescribedherein

         10 need notbepublished in tlleeventaDeclaration ofForfeiture isissued by theappropriate agency
         11 following publicationofnoticeofseizureandintenttoadm inistrativelyforfeittheabove-described
         12 property.

         13            DATED this         day of                '    ,   2011.
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         16
                                                            ITE     TA TES DISTRICT JU D G E
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